Case 7:15-cr-00468-VB Document 180 Filed 10/21/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA :

Vv. ORDER
Defendant.

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A status conference in this matter is scheduled for November 23, 2020, at 3:00 p.m.
Because of the current public health emergency, the Court will conduct the conference by
telephone conference call, provided that defendant waives his right to be physically present and
consents to appear by telephone after consultation with counsel.

Accordingly, it is hereby ORDERED:

1. By November 9, 2020, defense counsel shall advise the Court in writing as to whether
his client waives his right to be physically present and consents to appear by telephone.

2. At the time of the scheduled hearing, all counsel and defendant shall attend by calling
the following number and entering the access code when requested:

Dial-In Number: (888) 363-4749 (toll free) or (215) 446-3662

Access Code: 1703567

Dated: October 21, 2020
White Plains, NY SO ORDERED:

 

Vincent L. Briccetti
United States District Judge
